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  8                               UNITED STATES DISTRICT COURT
  9                            SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    BRANDON LO, individually and on behalf                   CASE NO. 11CV1009 JLS (MDD)
       of all others similarly situated,
 12                                                             CLASS ACTION
                                            Plaintiff,
 13              vs.                                            FINAL ORDER AND JUDGMENT
 14
       OXNARD EUROPEAN MOTORS, LLC and
 15    OXNARD MB, LLC,

 16                                      Defendants.

 17
 18          On May 9, 2011, Plaintiff Brandon Lo (“Plaintiff” or “Class Representative”) filed the
 19   above-captioned class action lawsuit (“Lawsuit”) against Defendant Oxnard European Motors,
 20   LLC, d/b/a Mercedes Benz of Oxnard (“Defendant” or “MBOO”). Plaintiff asserted class claims
 21   against MBOO under the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227.
 22   Specifically, Plaintiff alleged that MBOO violated the TCPA by sending text messages to his
 23   cellular telephone, without “prior express consent,” using an “automatic telephone dialing system”
 24   and using an “artificial or prerecorded voice.” MBOO denied any and all liability alleged in the
 25   Lawsuit.
 26          After extensive arm’s length negotiations, including mediation before The Honorable
 27   Mitchell D. Dembin, Plaintiff and MBOO (jointly referred to as the “Parties”) entered into a Class
 28
      Action Settlement Agreement (“Agreement”), which is subject to review under Fed. R. Civ. P. 23.

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               On November 28, 2011, the Parties filed the Agreement, along with their Joint Motion for
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      Preliminary Approval of Class Action Settlement Agreement (“Preliminary Approval Motion”).
  3
               On December 15, 2011, upon consideration of the Agreement, Preliminary Approval
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      Motion, and the record, the Court entered an Order of Preliminary Approval of Class Action
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      Settlement (“Preliminary Approval Order”). Pursuant to the Preliminary Approval Order, the
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      Court, among other things: (i) preliminarily certified a class of plaintiffs for settlement purposes
  7
      only (hereinafter referred to as the “Class Members”) with respect to the claims asserted in the
  8
      Lawsuit; (ii) preliminarily approved the proposed settlement; (iii) appointed Plaintiff Brandon Lo
  9
      as the Class Representative; (iv) appointed HYDE & SWIGART, the LAW OFFICES OF
 10
      DOUGLAS J. CAMPION, and the KAZEROUNI LAW GROUP PC as Class Counsel; and (v) set
 11
      the date and time of the Final Approval Hearing (“Fairness Hearing”).
 12
               The Parties filed their Joint Motion for Final Approval of Class Action Settlement
 13
      Agreement (“Final Approval Motion”). Pursuant to their Final Approval Motion, the Parties
 14
      request final certification of the settlement class under Fed. R. Civ. P. 23(b)(2) and (b)(3) and final
 15
 16   approval of the proposed class action settlement.

 17            On May 25, 2012, a Fairness Hearing was held by The Honorable Janis L. Sammartino,

 18   pursuant to Fed. R. Civ. P. 23 to determine whether the Lawsuit satisfies the applicable

 19   prerequisites for class action treatment and whether the proposed settlement is fundamentally fair,

 20   reasonable, adequate, and in the best interest of the Class Members and should be approved by the

 21   Court.

 22            The Court has read and considered the Agreement, Final Approval Motion, and the record.

 23   All capitalized terms used herein have the meanings defined herein and/or in the Agreement.

 24            NOW, THEREFORE, IT IS HEREBY ORDERED:

 25   1.       JURISDICTION
 26            The Court has jurisdiction over the subject matter of the Lawsuit and over all settling
 27   parties hereto.
 28   //


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      2.     CLASS MEMBERS
  2
             Pursuant to Fed. R. Civ. P. 23(b)(2) and (b)(3), the Lawsuit is hereby finally certified, for
  3
      settlement purposes only, as a class action on behalf of the following Class Members with respect
  4
      to the claims asserted in the Lawsuit:
  5
  6          All persons who received text messages from Defendant or its agents between
  7          October 16, 2009 and July 9, 2011 (the “Class Period”) and who responded to such
             text messages by sending text messages to Defendant or its agents, opting out of
  8          receiving further text messages from Defendant, and to whom Defendant or its
             agents sent confirmatory text messages acknowledging receipt of the opt out
  9          messages (hereinafter referred to as the “Settlement Class”) as identified in
 10          Defendant’s records to be provided to the Claims Administrator.

 11          All Settlement Class Members are persons that lived in the State of California at the
             time of receiving and opting out of further receipt of such text messages.
 12
 13          Excluded from the Settlement Class are Defendant, any parent companies, affiliates
             or subsidiaries, or any employees thereof, and any entities in which any of such
 14          companies has a controlling interest; the Judge or Magistrate Judge to whom the
             Action is assigned and any member of those Judges’ immediate families.
 15
 16   3.     CLASS REPRESENTATIVE AND CLASS COUNSEL APPOINTMENT
 17           Pursuant to Fed. R. Civ. P. 23, the Court finally certifies Plaintiff Brandon Lo as
 18   the Class Representative and HYDE & SWIGART, the LAW OFFICES OF DOUGLAS J.
 19   CAMPION, and the KAZEROUNI LAW GROUP, APC as Class Counsel.
 20   4.     NOTICE AND CLAIM PROCESS
 21           Pursuant to the Court’s Preliminary Approval Order, the third-party class action
 22   administrator, complied with the approved notice process. MBOO mailed the summary notice to
 23
      each of the 203 Class Members. The full notice was posted on the Settlement Website.
 24
      Considering the Class Members were identifiable, the form and method for notifying the Class
 25
      Members of the settlement and its terms and conditions were in conformity with this Court’s
 26
      Preliminary Approval Order and satisfied the requirements of Fed. R. Civ. P. 23(c)(2)(B) and
 27
      due process, and constituted the best notice practicable under the circumstances.
 28
              The Court finds that the notice process was clearly designed to advise the Class Members

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      of their rights. Further, the Court finds that the claims process set forth in the Agreement was
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      followed and that said process was the best practicable notice procedure under the
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      circumstances.
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      5.      FINAL CLASS CERTIFICATION
  5
               The Court again finds that the Lawsuit satisfies the applicable prerequisites for class
  6
      action treatment under Fed. R. Civ. P. 23, namely:
  7
                    A. The Class Members are so numerous that joinder of all of them in the
  8
                        Lawsuit would be impracticable;
  9
                    B. There are questions of law and fact common to the Class Members,
 10
                        which predominate over any individual questions;
 11
                    C. The claims of the Plaintiff are typical of the claims of the Class
 12
                        Members;
 13
                    D. The Plaintiff and Class Counsel have fairly and adequately represented
 14
                        and protected the interests of all of the Class Members; and
 15
 16                 E. Class treatment of these claims will be efficient and manageable, thereby

 17                     achieving an appreciable measure of judicial economy, and a class action

 18                     is superior to other available methods for a fair and efficient adjudication

 19                     of this controversy.

 20           The Court finds that the settlement of the Lawsuit, on the terms and conditions set forth in

 21   the Agreement, is in all respects fundamentally fair, reasonable, adequate, and in the best interest

 22   of the Class Members, especially in light of the benefits to the Class Members; the strength of the

 23   Plaintiff’s case; the complexity, expense, and probable duration of further litigation; the risk and

 24   delay inherent in possible appeals; and, the risk of collecting any judgment obtained on behalf of

 25   the class.
 26   5.     SETTLEMENT TERMS
 27           The Agreement, which has been filed with the Court and shall be deemed incorporated
 28   herein, and the proposed settlement are finally approved and shall be consummated in accordance


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      with the terms and provisions thereof, except as amended by any order issued by this Court. The
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      material terms of the Agreement include, but are not limited to, the following:
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                    A. MBOO shall pay $49,100.00 into a Settlement Fund maintained by the
  4
                        Claims Administrator established for the purpose of resolving this matter.
  5
                        From this Settlement Fund, the Claims Administrator shall pay the
  6
                        following: Pay Class Counsel $12,275 in attorneys’ fees and $1.537.34 in
  7
                        costs, which does not include the $4,500 for the reimbursement of the
  8
                        costs incurred by the Claims Administrator for its fees and costs, which
  9
                        are addressed below;
 10
                    B. The Claims Administrator shall pay itself the sum of $4,500.00 for its
 11
                        fees and costs incurred;
 12
                    C. Pay the Plaintiff $1,500.00 for his services as the Class Representative;
 13
                        and
 14
                    D. Pay each of the 22 Class Members who made a timely accepted claim the
 15
 16                     pro rata amount of the funds remaining after paying the above amounts,

 17                     approximately $1,331.25;

 18   6.    EXCLUSIONS AND OBJECTIONS

 19          The Class Members were given an opportunity to exclude themselves from the settlement.

 20   No such requests for exclusion were received.

 21          The Class members were also given an opportunity to object to the settlement. No such

 22   objections were received.

 23   7.    RELEASE OF CLAIMS AND DISMISSAL OF LAWSUIT

 24          The Class Representative, Class Members, and their successors and assigns are

 25   permanently barred and enjoined from instituting or prosecuting, either individually or as a class,
 26   or in any other capacity, any of the Released Claims against any of the Released Parties, as set
 27   forth in the Agreement. Pursuant to the release contained in the Agreement, the Released Claims
 28   are compromised, settled, released, discharged, and dismissed with prejudice by virtue of these


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      proceedings and this order.
  2
             The Lawsuit is hereby dismissed with prejudice in all respects.
  3
             This order is not, and shall not be construed as, an admission by MBOO of any liability or
  4
      wrongdoing in this or in any other proceeding.
  5
             Without affecting the finality of this Final Order and Judgment in any way, the Court
  6
      hereby retains continuing and exclusive jurisdiction over the Parties and all matters relating to the
  7
      Lawsuit and/or Agreement, including the administration, interpretation, construction,
  8
      effectuation, enforcement, and consummation of the settlement and this order.
  9
             IT IS SO ORDERED.
 10
 11
      DATED: May 29, 2012
 12
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 14
                                                       Honorable Janis L. Sammartino
 15
                                                       United States District Judge
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